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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MARVIN GERBER,

      Plaintiff,

     v.                                                         Case No. 19-13726
                                                       Honorable Victoria A. Roberts
HENRY HERSKOVITZ, ET AL.,

     Defendants.
_________________________________/

          ORDER GRANTING MOTION AND SETTING DEADLINES

      On Friday, January 3, 2020, the Court held a telephone conference with

counsel. Representing the Plaintiff was Marc Susselman. Representing the

“protester defendants,” were Cynthia Heenan, Hugh Davis and John Shea. Counsel

for the City of Ann Arbor defendants was not on the call. Counsel discussed a

number of issues, including first responsive pleadings, which defendants anticipate

will be Fed R Civ P 12(b)(6) motions. Mr. Susselman indicated he will file a First

Amended Complaint by January 11, 2020.

      The Court sets the following briefing deadlines:

             1. Defendants to file first responsive pleadings: March 10, 2020

             2. Plaintiffs’ response: April 30, 2020

             3. Defendants’ replies: May 21, 2020
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      Defendants’ Motion to Extend Time to File An Answer to the Complaint

[ECF No. 5] is GRANTED.

      ORDERED.

                                         s/ Victoria A. Roberts
                                         Victoria A. Roberts
                                         United States District Judge
Dated:
